Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 1 of 36 Page ID #:69
   1
   2
   3                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   4
   5    STEPHANIE CLIFFORD                         Case No.: 2:18−cv−02217−SJO−FFM

   6                     Plaintiff(s),
                                                   STANDING ORDER FOR CIVIL
   7          v.                                   CASES ASSIGNED TO JUDGE S.
        DONALD J. TRUMP, et al.                    JAMES OTERO
   8
   9
   10                   Defendant(s).

   11
   12
   13    This Order incorporates the Court’s:
   14    1.   Initial Standing Order for Civil Cases Assigned to Judge S. James Otero
   15    (Exhibit A); and
   16    2.   Order Re Jury/Court Trial for Cases Assigned to Judge S. James Otero
   17    (Exhibit B).
   18         Failure to conform with this Order may be deemed a waiver of trial by jury
   19    and may result in sanctions. The L.R. and Fed. R. Civ. P. control any issue not
   20    specifically addressed in this Order. This Order, and the Orders incorporated
   21    herein, are subject to change at any time. It is the responsibility of counsel to
   22    refer to this Court’s Procedures and Schedules found on the Court’s website
   23    (www.cacd.uscourts.gov) to obtain the operative order(s). Moreover, if this case
   24    was initiated by one or more Plaintiffs, Plaintiff(s) must immediately serve this
   25    Order and all incorporated Orders on all Defendants along with the Summons and
   26    Complaint. If this case was assigned to this Court after being removed from state
   27    court, the Defendant(s) who removed the case must serve this Order and all
   28    incorporated Orders on all other parties. The Court thanks the parties and counsel

                                                  1
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 2 of 36 Page ID #:70
    1
           for their anticipated cooperation in carrying out these requirements.
    2
              IT IS SO ORDERED.
    3
    4
          DATED: March 19, 2018
    5
                                        S. James Otero
    6                                   United States District Judge

    7
    8
    9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                               2
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 3 of 36 Page ID #:71
    1
                                    EXHIBIT A
    2
    3      INITIAL STANDING ORDER FOR CIVIL CASES ASSIGNED TO
                           JUDGE S. JAMES OTERO
    4
    5
    6
    7
    8
    9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                         A−1
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 4 of 36 Page ID #:72
   1
   2
   3                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   4
   5    STEPHANIE CLIFFORD                         Case No.: 2:18−cv−02217−SJO−FFM

   6                   Plaintiff(s),
                                                   STANDING ORDER FOR CIVIL
   7          v.                                   CASES ASSIGNED TO JUDGE S.
        DONALD J. TRUMP, et al.                    JAMES OTERO
   8
   9
   10                 Defendant(s).

   11
   12
   13         This case has been assigned to the calendar of Judge S. James Otero. To
   14    secure the just, speedy, and inexpensive determination of this action, counsel are
   15    ordered to familiarize themselves with the Federal Rules of Civil Procedure
   16    (“Fed. R. Civ. P.”) and the Local Rules (“L.R.”) of the Central District of California.
   17         In an effort to provide further guidance to the parties, the Court notes the
   18    following:
   19    1.   Court Hours: Civil motions are heard on Monday at 10:00 a.m., unless the
   20         Court orders otherwise. (If Monday is a holiday, the next motion date is
   21         Tuesday following the holiday.) It is not necessary to clear a motion date.
   22         Do not call the clerk to reserve a hearing date; comply with the L.R.
   23    2.   Location: Judge Otero’s courtroom is located at the First Street Courthouse:
   24         Courtroom 10C, Tenth Floor, United States District Court, 350 West 1st Street,
   25         Los Angeles, California 90012.
   26    3.   E−Filing of Civil Cases: E-filing is mandatory for all new and pending civil
   27         cases except as provided in L.R. 5-4.2. The Court adheres to the e-filing
   28         practices of the Central District of California (see the court’s website at

                                                A−2
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 5 of 36 Page ID #:73
   1
             www.cacd.uscourts.gov) with two important exceptions:
   2         a.   The deadline to e-file a document is 4:00 p.m.; any document e-filed
   3              after 4:00 p.m. will be deemed filed on the next court day.
   4         b.   For every e-filed motion, ex parte application, temporary restraining

   5              order, and injunction, the moving party must e-mail the Court at Judge
   6              Otero’s generic e-mail address (SJO_Chambers@cacd.uscourts.gov) a
   7              Word or WordPerfect version of the proposed order, pursuant to the L.R.
   8    4.   Mandatory Chambers Copies: Mandatory chambers copies are required
   9         only for e-filed documents. One mandatory chambers copy must be delivered
   10        to the Judge’s mail box outside the Clerk’s Office on the 4th floor of the First
   11        Street Courthouse, by 12 noon the day after the document was e-filed. This
   12        mandatory chambers copy must be blue-backed and two-hole punched as if it

   13        were a manual filing, and the caption page must indicate the date and time the
   14        document was e-filed (place date and time of filing below title of filing on the
   15        caption page).
   16   5.   Documents Exempt from E-Filing: All documents exempt from electronic
   17        filing pursuant to L.R. 5-4.2 must be filed in person or by mail (an original

   18        and one copy) at the Spring Street Courthouse: U.S. Courthouse, 312 North

   19        Spring Street, Room G-8, Civil Intake, Los Angeles, California 90012, NOT

   20        in chambers and NOT in the courtroom.
   21   6.   Telephone Inquiries: Telephone inquiries regarding the status of a motion,
   22        stipulation, or proposed order are not returned. Do not call the clerk to check
   23        the docket. Counsel may sign up for PACER access to monitor the clerk’s
   24        database.

   25   7.   Communications with Chambers: Counsel are not to initiate telephone

   26        calls to Judge Otero’s chambers, law clerks, or assistant. Counsel may access
   27        the Court’s website (www.cacd.uscourts.gov) for L.R., filing procedures,
   28        judges’ procedures and schedules, calendars, forms, and PACER access.

                                               A−3
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 6 of 36 Page ID #:74
   1
             Additional questions can be resolved by accessing the Western Division
   2         24-hour automated calling system ((213) 894-1565) or the case docket. Only in
   3         the event that counsel cannot find the desired information through all available
   4         resources, counsel may contact the Courtroom Deputy Clerk, Victor Cruz, by

   5         telephone at (213) 894-1796 or by e-mail at victor_cruz@cacd.uscourts.gov.
   6    8.   Service of Pleadings: Plaintiff must promptly serve the Complaint in
   7         accordance with Fed. R. Civ. P. 4 and file proof of service pursuant to
   8         L.R. 5-3. Any defendant not timely served will be dismissed from the action.
   9         Any “DOE” or fictitiously named defendant who is not identified and served
   10        within 90 days after the case is filed will be dismissed pursuant to Fed. R.
   11        Civ. P. 4(m).
   12   9.   Preparation of Documents/PDF: Counsel shall adhere to Local Rule 5-4.3.1

   13        with respect to the conversion of all documents to a PDF so that when a
   14        document is electronically filed, it is in the proper size and format that is
   15        PDF-searchable.
   16   10. Cases Removed from State Court: All documents filed in state court,
   17        including documents appended to the complaint, answers, and motions,

   18        must be re-filed in this Court as a supplement to the notice of removal.

   19        See 28 U.S.C. §§ 1447(a) and (b). If the defendant has not yet answered or

   20        filed a motion in response to the complaint, the answer or responsive pleading
   21        filed in this Court must comply with the Federal Rules of Civil Procedure and
   22        the L.R. If, before the case was removed, a motion or demurrer in response
   23        to the complaint was pending in state court, it must be re-noticed in this Court
   24        in accordance with L.R. 6-1 and L.R. 7. Counsel shall file with their first

   25        appearance a Notice of Interested Parties in accordance with L.R. 7.1-1.

   26             If an action is removed to this Court that contains a form pleading, i.e., a
   27        pleading in which boxes are checked, the party or parties utilizing the form
   28        pleading must file an appropriate pleading with this Court within 30 days of

                                               A−4
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 7 of 36 Page ID #:75
   1
             receipt of the Notice of Removal. The appropriate pleading referred to must
   2         comply with the requirements of Fed. R. Civ. P. 7, 7.1, 8, 9, 10 and 11.
   3    11. Assignment to a Magistrate Judge: Under 28 U.S.C. § 636, the parties may
   4         consent to have a magistrate judge preside over all proceedings, including

   5         trial. Magistrate judges who accept those designations are identified on the
   6         Central District’s website, which also contains the consent form.
   7    12. ADR Pilot Program: If counsel have received a “Notice to Parties of ADR
   8         Program” (form ADR-08), please refer to General Order 11-10 for further
   9         information. The ADR section also contains Attorney Settlement Officer
   10        Information.
   11   13. Temporary Restraining Orders and Injunctions: Parties seeking
   12        emergency or provisional relief must comply with Fed. R. Civ. P. 65 and

   13        L.R. 65. The application shall include a proof of service which complies
   14        with the Court’s requirements for ex parte applications or a separate request
   15        for service to be excused. The Court will not rule on any application for
   16        such relief for at least 24 hours after the party subject to the requested
   17        order has been served, unless service is excused. On the day the documents

   18        are e-filed, counsel shall e-mail the documents to the Courtroom Deputy at

   19        SJO_Chambers@cacd.uscourts.gov and deliver a courtesy copy to the

   20        Judge’s mail box outside the Clerk’s Office on the 4th Floor of the First Street
   21        Courthouse.
   22   14. Calendar Conflicts: If there is a calendar conflict, counsel are to inform the
   23        Courtroom Deputy Clerk as soon as possible prior to the date of the conflict
   24        and are to follow the L.R. and Federal Rules of Procedure.

   25   15. Transcripts: For questions regarding transcripts, contact Court Reporting

   26        Services at transcripts_cacd@cacd.uscourts.gov or (213) 894-3015.
   27        The Court uses a court reporter, Carol Zurborg, who may be reached at
   28        (213) 894-3539.

                                                A−5
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 8 of 36 Page ID #:76
   1
        16. Interpreters: Obtaining the services of a certified interpreter on a civil case
   2         is the responsibility of counsel. For further information, call (213) 894-4599.
   3    17. Motions to Reconsider: L.R. 7-18 is strictly enforced.
   4    18. Actions Invoking Subject Matter Jurisdiction Based on Diversity:

   5         The burden of persuasion for establishing diversity jurisdiction rests on the
   6         party asserting it and must be supported by competent proof.
   7              To determine a corporation’s “principal place of business” for the
   8         purposes of diversity jurisdiction, the Court will apply the “nerve center” test,
   9         which was adopted by the U.S. Supreme Court in Hertz Corp. v. Friend, 559
   10        U.S. 77 (2010). The “nerve center” test looks to the single location where
   11        the “corporation’s high level officers direct, control, and coordinate the
   12        corporation’s activities.” Id. at 80. The “nerve center” will typically be the

   13        corporation’s headquarters, provided that the headquarters is the actual center
   14        of direction, control, and coordination, and not simply an office where the
   15        corporation holds its board meetings. Id. at 81. For the purposes of simplicity
   16        and clarity in jurisdictional matters, the Court has abandoned previous Circuit
   17        tests that required complex balancing factors and whose outcomes were

   18        difficult to predict. Id. at 89-96.

   19             If a party seeks to remove an action to this Court on the basis of diversity

   20        in a case where it is not clear from the Complaint that more than $75,000 is
   21        in controversy, the removing party must prove by a preponderance of the
   22        evidence that the amount in controversy meets the jurisdictional threshold.
   23        Matheson v. Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir.
   24        2003). The Court will consider facts presented in the removal petition as

   25        well as any summary-judgment-type evidence relevant to the amount in

   26        controversy at time of removal. Id. Conclusory allegations as to the amount
   27        in controversy are insufficient. Id.
   28             Parties must file an Amended Complaint or Notice of Removal within

                                                   A−6
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 9 of 36 Page ID #:77
   1
            fifteen days from the date the action is assigned to Judge Otero if there
   2        is a doubt as to whether they have met the test outlined in Hertz, whether they
   3        have otherwise established the citizenship of the parties, or whether they have
   4        established the amount in controversy. Failure to comply may result in

   5        dismissal or remand.
   6    19. Timing of Motions: Parties must strictly comply with L.R. 6-1, 7-9, and 7-10.
   7    20. Scheduling Conference: Scheduling conferences are held as soon as
   8        practicable and not later than 180 days from the filing of the Complaint.
   9        Trial counsel must be present. The Court does not hold telephonic
   10       conferences.
   11            Counsel must timely comply with Fed. R. Civ. P. 26(f) and file a Joint
   12       Rule 26(f) Report within ten days after they meet and confer. The Report

   13       must, in addition to addressing the matters specified in Rule 26(f), set forth
   14       the parties’ views regarding:
   15       a.   A statement of the specific basis of federal jurisdiction, including
   16            supplemental jurisdiction;
   17       b.   A cut-off date for the completion of discovery and the hearing of motions,

   18            a final pretrial conference date, and a trial date;

   19       c.   Whether discovery should be conducted in phases or otherwise ordered

   20            or limited;
   21       d.   An estimate of the length of trial;
   22       e.   The name(s) of the attorney(s) who will try the case, including those
   23            who will be lead trial counsel;
   24       f.   Efforts made to settle or resolve the case to date, and the parties’ plans

   25            for maximizing settlement prospects;

   26       g.   Whether the case is complex or requires a reference to the procedures
   27            set forth in the Manual on Complex Litigation;
   28       h.   The likelihood of the appearance of additional parties;

                                               A−7
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 10 of 36 Page ID #:78
   1
             i.   Dispositive or partially dispositive motions the parties are likely to file;
   2         j.   Any unusual legal issues presented by the case, including any unusual
   3              substantive, procedural or evidentiary issues;
   4         k.   Proposals regarding severance, bifurcation or other ordering of proof; and

   5         l.   A discussion of the present state of discovery, including a summary
   6              of completed discovery.
   7    21. Patent Cases - Scheduling Conference and Adoption of Local Rules:
   8        a.    Adoption of Local Rules: During the scheduling conference, the Court
   9              will impose rules limiting the number of asserted claims and prior art
   10             references, the number of claim terms for construction, the timing of the
   11             exchange of infringement and invalidity contentions, and the content of
   12             such contentions. The parties may suggest that the Court adopt another

   13             jurisdiction’s set of patent local rules, and must state in the Joint Rule
   14             26(f) Report whether they have agreed to abide by any such patent local
   15             rules. The parties are encouraged to use the Northern District of California
   16             Patent Local Rules (“P.L.R.”) in complex cases such as those involving
   17             computer technology, pharmaceuticals, or cases involving Ph.D.-level

   18             skill. If the parties do not agree to use the P.L.R. or disagree only to the

   19             time line included therein, they must state their positions for disagreement

   20             in the Joint Rule 26(f) Report. In any case, the ultimate decision regarding
   21             all scheduling matters, including whether to apply the P.L.R., lies with the
   22             Court. The Court will take into consideration several factors, such as: the
   23             number of patents at issue; the number of claims asserted; the number of
   24             likely disputed claims and the ease with which the parties can identify the

   25             claim language that will resolve their dispute; and the complexity of

   26             the technology. Parties should be prepared to present a technology tutorial
   27             at the scheduling conference that provides an overview of the patented
   28             technology-including fundamental scientific and technical concepts and

                                                A−8
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 11 of 36 Page ID #:79
    1
                  any purported benefits of the claimed inventions over the prior art−and
    2             the design and operation of the accused instrumentalities.
    3        b.   Claim Construction Hearings: The Court may hold claim construction
    4             hearings and hear argument from counsel. However, the Court generally

    5             does not hear expert testimony at claim construction hearings.
    6        c.   Joint Claim Construction Chart: The joint claim construction chart must
    7             be in a three-column format.
    8        d.   Time Line for Patent Cases Not Using Patent Local Rules: For cases in
    9             which the Court has elected not to use the P.L.R., the parties must include
    10            proposed deadlines in the Rule 26(f) Report, including dates for the
    11            exchange of infringement and invalidity contentions, expert report dates,
    12            discovery cut-off dates, and a date for the claim construction hearing.

    13       e.   Time Line for Patent Cases Using Patent Local Rules: For cases in which
    14            the Court has elected to use the P.L.R., parties must include proposed
    15            deadlines in the Rule 26(f) Report. Parties may find the following
    16            list of suggested deadlines and dates helpful in writing their Rule 26(f)
    17            Report:

    18            (1)   One month after the Complaint is filed, the “Disclosure of Asserted

    19                  Claims and Infringement Contentions” under P.L.R. 3-1 is to be

    20                  served on all parties.
    21            (2)   Three months after the Complaint is filed is the deadline to amend
    22                  the pleadings to add and serve new parties, to bring third-party
    23                  claims, or to bring cross-claims.
    24            (3)   Four months after the Complaint is filed, the “Invalidity

    25                  Contentions” under P.L.R. 3-3 is due.

    26            (4)   Six months after the Complaint is filed, the “Joint Claim
    27                  Construction Chart and Prehearing Statement” under P.L.R. 4-3 is
    28                  due.

                                                 A−9
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 12 of 36 Page ID #:80
   1
                  (5)    Seven months after the Complaint is filed, claim construction
   2                     discovery, both fact and expert, is to be completed.
   3              (6)    Discovery with regard to damages begins the day after the fact and
   4                     expert discovery for the claim construction is due.

   5              (7)    Eight months after the Complaint is filed, the plaintiff’s claim
   6                     construction opening brief is due. Defendant’s claim construction
   7                     opposition is due two weeks after the opening brief is due and the
   8                     plaintiff’s claim construction reply is due two weeks after the
   9                     opposition is due.
   10              (8)   No sooner than one day after the Court’s ruling on claim
   11                    construction but no later than ten months after the filing of the
   12                    “Complaint, the Final Infringement Contentions” are due, along

   13                    with any motion for summary judgment regarding infringement.
   14              (9)   No sooner than after the “Final Infringement Contentions”
   15                    are filed but no later than eleven months after the filing of the
   16                    Complaint, the “Final Invalidity Contentions” are due, along with
   17                    any motion for summary judgment regarding invalidity or

   18                    unenforceability or non-infringement.

   19              (10) Eleven months after the filing of the Complaint is the motion

   20                    cut-off date for all motions other than motions for summary
   21                    judgment on infringement.
   22              (11) Eleven months after the Complaint is filed all discovery must be
   23                    completed.
   24              (12) One week before the trial, the pretrial conference will be held.

   25              (13) Fourteen months after the filing of the Complaint, the trial will

   26                    commence.
   27        f.   Additional Items to Be Addressed in the Parties’ Joint Rule 26(f) Report:
   28             In addition to the foregoing, the parties must include the following

                                                A−10
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 13 of 36 Page ID #:81
    1
                  information in their Joint Rule 26(f) Report: (1) whether any of the
    2             asserted patents have been involved in other litigations, and if so, the
    3             outcome of those litigations or the stage of those proceedings; (2) whether
    4             there is a history of litigation between the parties; and (3) whether the

    5             parties intend to move for inter partes or other post-grant review.
    6             The Court also notes that it may wish to hold a technology tutorial as
    7             part of the scheduling conference, in which case the parties shall bring
    8             at least three (3) copies of any bound presentation materials to the
    9             scheduling conference.
    10   22. Discovery: Discovery motions and applications for discovery protective
    11       orders must be scheduled before the magistrate judge assigned to the case.
    12       a.   Non-Expert Discovery: All expert / non-expert discovery must be

    13            completed by the discovery cut-off set by the Court. Any motion
    14            challenging the adequacy of discovery responses must be calendared
    15            sufficiently in advance of the cut-off date to permit any compelled
    16            responses to be obtained before that date.
    17       b.   Non-Expert Depositions: All depositions must commence sufficiently

    18            in advance of the discovery cut-off date to permit their completion

    19            and to permit the deposing party enough time to bring any discovery

    20            motions concerning the deposition prior to the cut-off date. Given the
    21            requirements of notice and “meet and confer,” this means that in most
    22            cases a planned motion to compel must be discussed with opposing
    23            counsel approximately six weeks before the cut-off.
    24       c.   Written Discovery: All interrogatories, requests for production of

    25            documents, and requests for admissions must be served sufficiently in

    26            advance of the discovery cut-off to enable the discovering party to
    27            challenge (via motion) deficient responses.
    28       d.   Discovery Motions: Parties are expected to resolve discovery disputes

                                              A−11
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 14 of 36 Page ID #:82
   1
                  among themselves in a courteous, reasonable, and professional manner.
   2              Absent resolution, the magistrate judge assigned to the case will rule
   3              on discovery motions. The Court requires compliance with L.R. 37-1
   4              through 37-4 in the preparation and filing of discovery motions. Any

   5              review of a magistrate judge’s discovery order must proceed by way of
   6              noticed motion under L.R. 7-4. The decision of the magistrate judge is
   7              final. The Court will not reverse any such order, including one imposing
   8              sanctions, unless the moving party demonstrates that the magistrate
   9              judge’s order “is clearly erroneous or contrary to law.” A motion for
   10             review and reconsideration must be filed and served within ten days of
   11             a written ruling or within ten days of an oral ruling that the magistrate
   12             judge states will not be followed by a written ruling.

   13        e.   Expert Discovery: The parties must meet and confer and agree upon
   14             expert disclosure dates as required by Fed. R. Civ. P. 26(a)(2). All
   15             disclosures must be made in writing. The parties should commence
   16             expert discovery shortly after the initial designation of experts, because
   17             the final pretrial conference and trial dates will not be continued merely

   18             because expert discovery is still underway.

   19   23. Motions and Motion Cut-Off Date:

   20        a.   Meet and Confer Requirement: For all cases not exempt under L.R.
   21             16-12, and except in connection with discovery motions, applications
   22             for temporary restraining orders, or preliminary injunctions, counsel
   23             contemplating filing of any motion shall first contact opposing counsel
   24             to “discuss thoroughly, preferably in person, the substance of the

   25             contemplated motion and any potential resolution.” L.R. 7-3. The Court

   26             construes this requirement strictly. Half-hearted attempts at compliance
   27             with this rule will not satisfy counsel’s obligation. The parties must
   28             discuss the substantive grounds for the motion and attempt to reach

                                              A−12
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 15 of 36 Page ID #:83
   1
                  an accord that would eliminate the need for the motion. The Court
   2              strongly emphasizes that under L.R. 7-3, discussions of the substance
   3              of contemplated motions are to take place, if at all possible, in person.
   4              Only in exceptional cases will a telephonic conference be allowed. All

   5              motions must include a declaration by counsel briefly describing the
   6              parties’ discussion and attempt to eliminate the need for the motion and
   7              the date of such discussion. Filings not in compliance with L.R. 7-3 will
   8              be denied.
   9         b.   All law and motion matters, except for motions in limine, must be set
   10             for hearing (not filing) by the motion hearing cut-off date. Issues left
   11             undetermined after passage of the cut-off date should be listed as issues
   12             for trial in the final pretrial conference order. As an exception, motions

   13             in limine dealing with evidentiary matters will be heard (at the Court’s
   14             discretion) on the first day of trial, and must conform to the Local Rules
   15             and Rule 1.B.1. of the Court’s Order Re Jury/Court Trial For Civil Cases
   16             Assigned to Judge S. James Otero (Exhibit B). However, the Court will
   17             not hear or resolve summary judgment motions disguised as motions

   18             in limine.

   19        c.   The Court strongly encourages parties to permit less experienced

   20             lawyers (i.e., lawyers with five or fewer years of experience) to actively
   21             participate in the proceedings by presenting argument at motion
   22             hearings or examining witnesses at trial. Counsel should be prepared
   23             to discuss such opportunities at the Scheduling Conference.
   24        d.   Local Rule 7 governs the form of motions. See generally L.R. 7. If a

   25             party does not oppose a motion, that party must file a statement of

   26             non-opposition. L.R. 7-16. Failure to meet the time limits set forth in
   27             L.R. 7 may be deemed consent to the granting of the motion. L.R. 7-12.
   28             The Court will not decide late-filed motions, and a party or counsel

                                              A−13
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 16 of 36 Page ID #:84
   1
                  who files such late papers may be subject to sanctions under L.R. 7-13.
   2              Reply papers are limited to argument and authorities responsive to the
   3              opposition papers. The Court will not address new matter that was
   4              improperly introduced.

   5    24. Motions - Generally: All pleadings must comply with L.R. 11, except that
   6         no memorandum or points and authorities or opposition may exceed twenty
   7         pages, excluding indices and exhibits, unless permitted by the Court. No reply
   8         may exceed five pages.
   9         a.   Objections to Evidence: If a party disputes a fact based in whole or
   10             in part on an evidentiary objection, the ground of the objection, as
   11             indicated above, should be stated in a separate statement but not argued
   12             in that document.

   13        b.   Oral Argument: If the Court deems a matter appropriate for decision
   14             without oral argument, the Court will notify the parties in advance.
   15        c.   Tentative Rulings: As a general matter, the Court does not issue tentative
   16             rulings.
   17        d.   Amici Status: The Court has broad discretion to appoint amicus curiae.

   18             Interested parties must request leave of the Court before filing an amicus

   19             brief, by showing:

   20             (1)   That they have a “special interest” in the case;
   21             (2)   That this interest is not represented competently or at all;
   22             (3)   That they present information that is both timely and useful; and
   23             (4)   That they are not partial to a particular outcome of the case.
   24   25. Motions Pursuant to Rule 12: Many motions to dismiss or to strike can be

   25        avoided if the parties confer in good faith (as required by Local Rule 7-3),

   26        especially where perceived defects in a complaint, answer, or counterclaim
   27        could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296
   28        (9th Cir. 1996) (where a motion to dismiss is granted, a district court should

                                              A−14
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 17 of 36 Page ID #:85
   1
             provide leave to amend unless it is clear that the complaint could not be saved
   2         by any amendment). These principles require that plaintiff’s counsel carefully
   3         evaluate defendant’s contentions as to the deficiencies in the complaint.
   4         In most instances, the moving party should agree to any amendment that

   5         would cure the defect. If a motion to dismiss is granted with leave to amend,
   6         counsel shall attach as an appendix to an amended pleading a “redline”
   7         version of the amended pleading showing all additions and deletions of
   8         material.
   9    26. Motions to Amend: All motions to amend pleading shall: (1) state the effect
   10        of the amendment; and (2) identify the page and line number(s) and wording
   11        of any proposed change or addition of material. The proposed amended
   12        pleading shall be serially numbered to differentiate it from previously amended

   13        pleadings. In addition to the requirements of L.R. 15, counsel shall attach as
   14        an appendix to the moving papers a “redline” version of the proposed
   15        amended pleading showing all additions and deletions of material.
   16   27. Summary Judgment Motions: Parties need not wait until the motion cut-off
   17        to bring motions for summary judgment or partial summary judgment.

   18        Whenever possible, the party moving for summary judgment should provide

   19        more than the minimum 28 day notice of motions. See L.R. 6-1. Because

   20        these motions are fact-dependent, parties should prepare papers in a fashion
   21        that will assist the Court in absorbing the mass of facts (e.g., tables of contents,
   22        headings, indices). The parties are to comply precisely with L.R. 56-1 through
   23        56-3.
   24        a.   One Summary Judgment Motion: Without prior permission of the Court,

   25             no party may file more than one motion pursuant to Fed. R. Civ. P. 56

   26             regardless of whether such motion is denominated as a motion for
   27             summary judgment or summary adjudication.
   28        b.   Statement of Undisputed Material Facts: The separate Statement of

                                               A−15
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 18 of 36 Page ID #:86
   1
                  Undisputed Material Facts must be prepared in a two-column format. The
   2              left-hand column sets forth the allegedly undisputed fact. The right-hand
   3              column sets forth the evidence that supports the factual statement.
   4              Citation to the supporting evidence shall be specific, including reference

   5              to the docket number, exhibit, page, and line number. Chambers’ copies
   6              of the Statement of Undisputed Material Facts shall be submitted in a
   7              binder (delivered to the Judge’s mail box outside the Clerk’s Office on
   8              the 4th Floor of the First Street Courthouse), which is separated from the
   9              evidence in support of a motion for summary judgment. Counsel shall
   10             include tab dividers which separate the statements of undisputed material
   11             facts in support of each claim for relief.
   12        c.   Statement of Genuine Disputes of Material Fact: The opposing party’s

   13             Statement of Genuine Disputes of Material Fact must be in two columns
   14             and track the movant’s separate statement exactly as prepared. The left-
   15             hand column must restate the allegedly undisputed fact and the alleged.
   16             supporting evidence, and the right-hand column must state either that it
   17             is disputed or undisputed. The opposing party may dispute all or only a

   18             portion of the statement, but if disputing only a portion, such party must

   19             clearly indicate what part is being disputed, followed by the opposing

   20             party’s evidence controverting the fact. To demonstrate that a fact is
   21             disputed, the opposing party must briefly state why it disputes the
   22             moving party’s asserted fact, cite to the relevant exhibit or other evidence,
   23             and describe what it is in that exhibit or evidence that refutes the asserted
   24             fact. No legal argument should be set forth in the document.

   25                  Chambers’ copies of the opposing party’s Statement of Genuine

   26             Disputes must also be submitted in a binder (delivered to the Judge’s
   27             mail box outside the Clerk’s Office on the 4th Floor of the First Street
   28             Courthouse), which is separated from the evidence in opposition to a

                                               A−16
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 19 of 36 Page ID #:87
    1
                  motion for summary judgment. Counsel shall include tab dividers which
    2             separate the Statement of Genuine Disputes as to each claim for relief.
    3                   The opposing party may submit additional material facts that bear
    4             on, or relate to, the issues raised by the movant, which shall follow the

    5             format described above for the moving party’s separate statement. These
    6             additional facts shall continue in sequentially numbered paragraphs and
    7             shall set forth in the right-hand column the evidence that supports that
    8             statement. Additional material facts shall be filed in a separate
    9             document from the Statement of Genuine Disputes. Chambers’ copies
    10            of the opposing party’s additional material facts must be filed in a
    11            separate binder from the Statement of Genuine Disputes. Counsel shall
    12            include tab dividers which separate the additional material facts as to

    13            each claim for relief.
    14       d.   Supporting Evidence: No party shall submit evidence other than the
    15            specific items of evidence or testimony necessary to support or controvert
    16            a proposed statement of undisputed fact. For example, entire deposition
    17            transcripts, entire sets of interrogatory responses, and documents that do

    18            not specifically support or controvert material in the separate statement

    19            shall not be submitted in support of or opposition to a motion for

    20            summary judgment.
    21                  Supporting evidence should be submitted either by way of
    22            stipulation or as exhibits to declarations sufficient to authenticate the
    23            proffered evidence, and should not be attached to the memorandum of
    24            points and authorities. Documentary evidence as to which there is no

    25            stipulation regarding foundation must be accompanied by the testimony

    26            of a witness who can establish authenticity.
    27   28. Motions for Attorneys’ Fees: Motions for attorneys’ fees shall be filed
    28       and set for hearing according to Local Rule 6-1. Any motion or request

                                              A−17
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 20 of 36 Page ID #:88
   1
             for attorneys’ fees shall attach two summaries, in table form, of the hours
   2         worked by and billing rate of each attorney with title (i.e., partner, local
   3         counsel, associate, etc.).
   4              The first table shall include a summary of the hours worked by each

   5         attorney, organized by task (i.e., discovery, motion to dismiss, motion for
   6         summary judgment). If the hourly rate charged by any individual attorney
   7         changed while the case was ongoing, the party shall provide separate
   8         calculations for the total number of hours that the attorney spent in connection
   9         with each task at each hourly rate.
   10             The second table shall include a summary of the hours worked by each
   11        attorney, organized by attorney. This table shall list all of the tasks on which
   12        the attorney worked, the hours worked on each task, and the hourly rate of

   13        each attorney.
   14   29. Requests for Extensions of Time to File Documents or Dates:
   15        The deadlines and requirements set by the Court are firm. No stipulations
   16        extending scheduling requirements or modifying applicable rules are effective
   17        unless and until approved by the Court. Counsel should avoid submitting

   18        requests for a continuance less than at least seven (7) calendar days prior

   19        to the scheduled date that is the subject of the request. Applications and

   20        stipulations must set forth:
   21        a.   The existing due date or hearing date;
   22        b.   Specific, concrete reasons supporting good cause for granting the
   23             extension. A statement that an extension “will promote settlement” is
   24             insufficient. The requesting party or parties must indicate the status of

   25             ongoing negotiations (i.e., Have written proposals been exchanged?

   26             Is counsel reviewing a draft settlement agreement? Has a mediator been
   27             selected?); and
   28        c.   Whether there have been prior requests for extensions, and whether

                                               A−18
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 21 of 36 Page ID #:89
   1
                  these were granted or denied by the Court.
   2         The pretrial conference and trial dates will not be continued solely because
   3         the parties are in the process of settling or have “settled.” If the parties wish
   4         to avoid the pretrial conference or trial, a valid stipulated dismissal under

   5         Fed. R. Civ. P. 41 must be filed at least one court day in advance.
   6    30. Ex Parte Applications: Ex parte applications are solely for extraordinary
   7         relief and are discouraged. Mission Power Eng'g Co. v. Cont’l Casualty Co.,
   8         883 F. Supp. 488 (C.D. Cal. 1995). Strictly comply with L.R. 7-19. Ex parte
   9         applications are not noticed for any date or time certain. If a hearing is
   10        necessary, the Courtroom Deputy Clerk will contact counsel.
   11   31. Protective Orders and Motions to Seal Documents
   12        a.   Protective Orders. The parties are permitted to enter into stipulated

   13             protective orders that govern how the parties are required to handle
   14             confidential material produced in discovery.
   15        b.   Sealing Determinations. It is the Court, not the parties, that determines
   16             whether a document can be filed under seal. Protective orders cannot
   17             pre-authorize a party to file documents under seal. Parties must strictly

   18             comply with Local Rule 79-5 and its subdivisions. The Court will only

   19             permit filings under seal if the party seeking to seal the information

   20             demonstrates why the public’s traditional right of access to court
   21             documents and the public policies favoring disclosure are outweighed by
   22             good cause (if the motion is not case-dispositive) or compelling reasons
   23             (if the motion is case-dispositive or the information is included in the
   24             operative complaint) that support keeping the information under seal.

   25             The fact that a party has designated a particular document “Confidential”

   26             pursuant to a protective order is not sufficient to convince the Court that
   27             good cause or compelling reasons exist to seal that document. If a
   28             protective order attempts to authorize the filing of materials under seal

                                               A−19
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 22 of 36 Page ID #:90
   1
                  without an independent showing of good cause or compelling reasons,
   2              the protective order will be rejected or that provision will be ignored.
   3         c.   Noticed Motions in Cases with Protective Orders. In any case where
   4              the parties have entered into a stipulated protective order, noticed

   5              motions must be noticed at least 35 days before the hearing date.
   6         d.   Filing One’s Own Confidential Documents with the Court. Any party
   7              who wishes to file its own confidential material with the Court and have
   8              that information sealed must submit an application to seal concurrently
   9              with the filing of the document containing the confidential information.
   10        e.   Filing Another Party’s Confidential Documents with the Court.
   11             1.   Meet-and-Confer Requirement. If a party wishes to file in Court
   12                  a document containing information another party has designated

   13                  “Confidential” pursuant to a protective order, the party filing the
   14                  document (the “Filing Party”) must give the party that designated
   15                  the material “Confidential” (the “Designating Party”) at least
   16                  seven calendar days’ notice, informing the Designating Party which
   17                  specific documents or information the Filing Party intends to file

   18                  with the Court and the date of the anticipated filing. No fewer than

   19                  four calendar days prior to the anticipated filing, the Designating

   20                  Party must inform the Filing Party which of the identified material
   21                  it intends to move to seal. This subsection applies to any noticed
   22                  motion or opposition to a noticed motion.
   23             2.   Timing of Applications to Seal. If the Designating Party wishes to
   24                  seal certain information, it must file an application to seal on or

   25                  before the date the Filing Party files the document containing the

   26                  confidential information. This subsection applies to any noticed
   27                  motion or opposition to a noticed motion.
   28             3.   Filings Other Than Noticed Motions or Oppositions to Noticed

                                              A−20
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 23 of 36 Page ID #:91
   1
                       Motions. A party filing any document other than a noticed motion
   2                   or opposition to a noticed motion need not inform the Designating
   3                   Party which material it intends to file with the Court. If a Filing
   4                   Party files a document other than a noticed motion or opposition to

   5                   a noticed motion that includes information another party has
   6                   designated “Confidential,” the Filing Party must redact all of the
   7                   other party’s confidential information from the publicly-available
   8                   version and lodge conditionally under seal unredacted copies with
   9                   the Court. If the Designating Party seeks to have any of the
   10                  information sealed, it must file an application to seal within four
   11                  calendar days. If no application to seal is received, the Court will
   12                  reject the filing and give the Filing Party two days to re-file

   13                  unredacted versions of the documents.
   14   32. Settlement: L.R. 16-15 requires the parties to participate in one of the
   15        settlement procedures set forth in the Rule. The settlement conference must
   16        be concluded not later than 30 days before the pretrial conference. The Court
   17        may hold and preside over the settlement conference in certain cases. The

   18        Court on its own motion may set a settlement conference at any time

   19        following the scheduling conference. If the settlement conference is set

   20        before this Court, the parties must comply with L.R. 16-15.5.
   21   33. Procedures for Settlement Conferences Held Before Judge Otero:
   22        a.   Settlement Conference Briefs: The parties must submit confidential
   23             settlement conference briefs to chambers in accordance with L.R.
   24             16-15.5(a) five days before the conference, and must exchange non-

   25             confidential letters with all other parties of record. Each confidential

   26             settlement conference brief must contain:
   27             (1) A summary of the important issues and the party’s position on
   28                  each issue;

                                               A−21
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 24 of 36 Page ID #:92
    1
                  (2) A summary regarding damages in a non-conclusory form; and
    2
                  (3) A summary on the course of any prior settlement negotiations.
    3             The brief must be concise, and large numbers of exhibits may not be
    4             appended. Proposals for settlement and counsel’s evaluation of the case
    5             not yet communicated to opposing counsel must be included in the
    6             confidential settlement letter.
    7        b.   Persons Present: All persons whose consent is necessary to conclude
    8             settlement must be present at the settlement conference. Counsel are
    9             responsible for ensuring that all persons and parties are present.
    10       c.   The Conference: The Court will confer with the attorneys and
    11            representatives jointly and separately. Each party must be prepared
    12            to negotiate for as long as prospects of settlement are not foreclosed.
    13            The Court may confer with the parties in the presence of their attorneys.
    14            If settlement is reached, it will be placed on the record at the conclusion

    15            of the conference.

    16
            IT IS SO ORDERED.
    17
    18 DATED: March 19, 2018
    19                                     S. James Otero
                                           United States District Judge
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                              A−22
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 25 of 36 Page ID #:93
    1
                                    EXHIBIT B
    2
    3      ORDER RE JURY/COURT TRIAL FOR CIVIL CASES ASSIGNED TO
                           JUDGE S. JAMES OTERO
    4
    5
    6
    7
    8
    9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                         B−1
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 26 of 36 Page ID #:94
   1
   2
   3                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   4
   5    STEPHANIE CLIFFORD                        Case No.: 2:18−cv−02217−SJO−FFM

   6                  Plaintiff(s),
                                                  ORDER RE JURY/COURT TRIAL
   7          v.                                  FOR CIVIL CASES ASSIGNED
        DONALD J. TRUMP, et al.                   TO JUDGE S. JAMES OTERO
   8
   9
   10                Defendant(s).

   11
   12
   13    1.   TRIAL PREPARATION
   14         A.   Pretrial Conference: This case has been placed on the calendar for a
   15              Final Pretrial Conference (“PTC”) pursuant to Fed. R. Civ. P. 16. The
   16              PTC will be held at 9:00 a.m. on the date set by the Court, unless
   17              expressly waived by the Court at the scheduling conference. The lead
   18              trial attorney on behalf of each party must attend the PTC and all meetings
   19              in preparation thereof. A continuance of the PTC at the parties’ request
   20              or by stipulation is unlikely. Failure to complete discovery is not a ground
   21              for continuance.
   22                   At the PTC, parties should be prepared to discuss means of
   23              streamlining the trial, including: bifurcation; presentation of foundational
   24              and non-critical testimony by deposition excerpts, narrative summaries
   25              and stipulations as to the content of testimony; and qualification of experts
   26              by admitted resumes. The Court will also discuss settlement.
   27                   If counsel fail to file the required pretrial documents or fail to appear
   28              at the PTC and such failure is not otherwise satisfactorily explained to the

                                                B−2
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 27 of 36 Page ID #:95
   1
                 Court: (a) the case will be dismissed for failure to prosecute, if such
   2             failure occurs on the part of the plaintiff; (b) default judgment will
   3             be entered, if such failure occurs on the part of the defendant; or
   4             (c) the Court may take such action as it deems appropriate. Failure of

   5             counsel to strictly follow the provisions of this Order may subject the
   6             non-complying party and its attorney to sanctions and may constitute a
   7             waiver of jury trial.
   8         B. Pretrial Documents: Pretrial documents must comply with the Local
   9             Rules:
   10            1.   Motions In Limine: Motions in limine are heard on the first day of
   11                 trial and must conform to the Local Rules and the following format:
   12                 a.   Motions in limine must be filed 35 days before the trial date

   13                      and prepared consistent with L.R. 6-1. Any opposition(s) shall
   14                      be filed 14 days before the Final Pretrial Conference and shall
   15                      not exceed 10 pages. Any reply shall be filed 7 days before
   16                      the Final Pretrial Conference and shall not exceed 5 pages.
   17                      In addition, five court days before the PTC, each party must

   18                      deliver to the Court (to the Judge’s mail box outside the

   19                      Clerk’s Office on the 4th Floor of the First Street Courthouse)

   20                      a three-ring binder of its motions in limine, together with
   21                      the objections and replies. Each party is limited to four
   22                      motions in limine, unless good cause is shown or the Court
   23                      otherwise instructs.
   24                 b.   If any of the issues addressed in said motions were raised in

   25                      prior proceedings, counsel are to identify the proceedings and

   26                      relevant pleadings.
   27                 c.   The binders must be clearly marked as to their content (e.g.,
   28                      Plaintiff’s Motions in Limine Nos. 1-4) and each motion must

                                              B−3
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 28 of 36 Page ID #:96
    1
                           be separated by marked dividers, identifying the particular
    2                      motion. The spine of each binder must include the case name
    3                      and number as well as the content of the binder. Binders should
    4                      only contain the points of law, no declarations.

    5                 d.   In lodging deposition transcripts, counsel must stipulate to
    6                      their authenticity.
    7            2.   Memoranda of Contentions of Fact and Law: Not later
    8                 than 21 days before the PTC, each party must serve and file a
    9                 memorandum of contentions of fact and law containing a summary
    10                of the parties’ basic factual contentions supported by legal authority
    11                in the form of a legal brief. L.R. 16-4.
    12           3.   Joint Witness List: Not later than 21 days before the PTC, the

    13                parties must submit a joint witness list in accordance with L.R. 16-5,
    14                except that the parties need not submit separate witness lists. In
    15                addition to the filed copy, on the first day of trial, counsel must
    16                provide the Court with three courtesy copies of the Joint Witness
    17                List. The Joint Witness List must identify:

    18                a.   All witnesses who will actually testify at trial. Failure to

    19                     include the name of a witness may preclude a party from

    20                     calling that witness.
    21                b.   Trial Witness Estimate: The witness list and summary must
    22                     give accurate time estimates for each witness to conduct direct,
    23                     cross, re-direct, and re-cross. Counsel must include a summary
    24                     of the testimony of each witness. If more than one witness is

    25                     offered on the same subject matter, each summary must enable

    26                     the Court to determine if the testimony is cumulative.
    27                c.   Expert Witnesses: An expert witness’s direct testimony must
    28                     consist of a description of the expert’s background and contents

                                                 B−4
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 29 of 36 Page ID #:97
   1
                                of his or her Rule 26 Report.
   2              4.   Joint Exhibit List: Not later than 21 days before the PTC, the
   3                   parties must submit a joint exhibit list in accordance with L.R.
   4                   16-6.1 and Fed. R. Civ. P. 26(a)(3)(A)(iii). The Joint Exhibit List

   5                   should comply with the following:
   6                   a.        Counsel must meet and confer and stipulate to authenticity
   7                             and other foundational objections.
   8                   b.        Place exhibits in binders with each exhibit properly marked
   9                             and tabbed.
   10                  c.        Identify the proffering party for each exhibit.
   11                  d.        Include an appropriate identification of each document
   12                            or exhibit which the party expects to offer for impeachment

   13                            purposes and those which the party may offer if the need

   14                            arises. The list must be substantially in the form indicated

   15                            by the following example:

   16
         Plaintiff’s Exhibits
   17    Exhibit No.        Description      Stip. to    Stip. to     Date          Date
   18                                       Authen.     Admiss.       Identified   Admitted
   19
   20    Defendant’s Exhibits
   21    Exhibit No.        Description      Stip. to    Stip. to     Date          Date

   22                                       Authen.     Admiss.       Identified   Admitted

   23
   24             5.   Pretrial Exhibit Stipulation: Not later than 7 days before the PTC,
   25                  the parties must prepare a pretrial exhibit stipulation. The pretrial

   26                  exhibit stipulation must be filed at the same time counsel lodge

   27                  the PTCO; failure to do so comply may constitute a waiver of all

   28                  objections. In addition to the filed copy, on the first day of trial,

                                                  B−5
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 30 of 36 Page ID #:98
   1
                       counsel must provide the Court with three courtesy copies of
   2                   the Pretrial Exhibit Stipulation. The Pretrial Exhibit Stipulation
   3                   should contain each party’s numbered list of all trial exhibits, with
   4                   objections to each exhibit and the offering party’s response; each

   5                   exhibit to which there is no objection will be admitted. All parties
   6                   must stipulate to the authenticity of exhibits whenever possible.
   7                   Identify any exhibits whose authenticity has not been stipulated
   8                   to and the specific reasons for the parties’ failure to stipulate. The
   9                   stipulation must be substantially in the form indicated by the
   10                  following example:
   11
         Plaintiff’s Exhibits
   12    Exhibit No.        Description         If Objection, State         Response to
   13                                           Grounds                     Objection
   14    Defendant’s Exhibits
   15    Exhibit No.        Description         If Objection, State         Response to

   16                                           Grounds                     Objection

   17             6.   Proposed Pretrial Conference Order (“PTCO”): Not later than
   18                  7 days before the PTC, the parties must submit file their PTCO, as
   19                  well as e-mail the Court at SJO_Chambers@cacd.uscourts.gov
   20                  a Word or WordPerfect version of the PTCO. Parties are to consult
   21                  Appendix A to the L.R. in preparing the PTCO. In addition, parties
   22                  must heed the following:
   23                  a.   Include a table of contents at the beginning of the PTCO.
   24                  b.   Place in “all caps” and in “bold” the separately numbered
   25                       headings for each category in the PTCO (e.g., “1. THE

   26                       PARTIES”).

   27                  c.   In specifying the surviving pleadings under section 1 of
   28                       Appendix A, state which claims or counterclaims have been

                                               B−6
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 31 of 36 Page ID #:99
   1
                           dismissed or abandoned (e.g., “Plaintiff’s first cause of action
   2                       for fraud has been dismissed.”) In multiple party cases where
   3                       not all claims will be prosecuted against all remaining parties
   4                       on the opposing side, specify to which party each claim is

   5                       directed.
   6                  d.   In drafting the PTCO, the parties must attempt to agree on
   7                       and set forth as many uncontested facts as possible. These
   8                       facts are usually read to the jury at the start of trial. A carefully
   9                       drafted stipulation of facts will reduce the length of trial and
   10                      increase jury understanding of the case.
   11                 e.   In drafting the factual issues in dispute for the PTCO, the
   12                      parties must state issues in ultimate fact form, not in the form

   13                      of evidentiary fact issues. The issues of fact should track
   14                      the elements of a claim or defense on which the jury will be
   15                      required to make findings.
   16                 f.   Issues of law should state legal issues on which the Court will
   17                      be required to rule during the trial and should not list ultimate

   18                      fact issues to be submitted to the trier of fact.

   19            7.   Jury Instructions and Verdict Forms: Not later than 7 days before

   20                 the PTC, counsel must submit two sets of jury instructions, as well
   21                 as email the Court at SJO_Chambers@cacd.uscourts.gov Word
   22                 or WordPerfect versions of both sets of instructions.
   23                 a.   Set one consists of instructions that all parties agree should
   24                      be submitted to the jury, and includes general and substantive

   25                      instructions, a verdict form, and, if necessary, special

   26                      interrogatories. “Substantive jury instructions” means all
   27                      instructions relating to the elements of all claims and defenses
   28                      in the case. Parties should also submit standard and general

                                              B−7
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 32 of 36 Page ID #:100
    1
                           instructions.
    2                 b.   Set two consists of instructions that are objected to. Proposed
    3                      special verdict forms are to be included. This second set must
    4                      include a joint statement regarding the disputed instructions,

    5                      verdicts and interrogatories. In the joint statement, place the
    6                      text of the disputed instruction (or verdict or interrogatory)
    7                      with identification of the party proposing it. Following
    8                      that text, place the opposing party’s statement of objections
    9                      with legal authority in support thereof (one page or less) and
    10                     proposed alternative language if appropriate. The entirety of
    11                     the objection must be typed in capital letters.
    12                c.   A table of contents must be included with all jury instructions

    13                     submitted to the Court. The table of contents must set forth:
    14                     (i) the number of the instruction; (ii) a brief title of the
    15                     instruction; (iii) the source of the instruction; and (iv) the
    16                     page number of the instruction.
    17                     For example:

    18                     Number          Title              Source       Page Number

    19                     (1)         (Burden of Proof) (cite)           (5)

    20                d.   The Court strongly prefers counsel to use instructions from the
    21                     Manual of Model Jury Instructions for the Ninth Circuit where
    22                     applicable. Where California law is to be applied, the Court
    23                     requires counsel to use the State of California Judicial Council
    24                     Approved Civil Jury Instructions.

    25                e.   Modifications of instructions from the foregoing sources

    26                     (or any other form instructions) must specifically state the
    27                     modification made to the original form instruction and the
    28                     authority supporting the modification.

                                                   B−8
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 33 of 36 Page ID #:101
    1
                 8.   Joint Statement of the Case and Voir Dire: Not later than
    2                 7 days before the PTC, the parties must submit separate proposed
    3                 voir dire questions and a one-page joint statement of the case,
    4                 which is read to the jury pool. The Court conducts voir dire. The

    5                 parties need not submit requests for standard voir dire questions,
    6                 but should include only proposed questions specifically tailored
    7                 to the parties and issues of the case.
    8        C. Real-Time Reporting Requirement: At the PTC, each party must
    9            submit to the Deputy Clerk a typed list of proper names, unusual or
    10           scientific terms, or any other uncommon words that are likely to be
    11           used during the trial.
    12       D. Bench Trial:

    13           1.   Findings of Fact and Conclusion of Law: The parties must lodge
    14                their proposed findings of fact and conclusions of law no later than
    15                seven (7) days before trial and deliver to chambers a digital copy
    16                of these findings in Word or WordPerfect format. L.R. 52-1. When
    17                ordered by the Court in a particular case, each party shall, at least

    18                twenty-one (21) calendar days prior to the PTC, file declarations

    19                containing the direct testimony of each witness whom that party

    20                intends to call at trial. If such declarations are filed, each party
    21                shall file any evidentiary objections to the declaration(s) submitted
    22                by any other party at least fourteen (14) calendar days prior to the
    23                Final Pretrial Conference. If any party submits such objections,
    24                they shall be submitted in the following three-column format:

    25                (i) the left column should contain a verbatim quote of each statement

    26                objected to (including page and line number); (ii) the middle column
    27                should set forth a concise objection (e.g., hearsay, lacks foundation,
    28                etc.) with a citation to the Federal Rules of Evidence or, where

                                               B−9
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 34 of 36 Page ID #:102
    1
                        applicable, a case citation; and (iii) the right column should provide
    2                   space for the Court’s entry of its ruling on the objection. The Court
    3                   anticipates issuing its ruling on the objections the same date as the
    4                   date scheduled for the PTC. Counsel shall refer to the Court’s Initial

    5                   Standing Order for the proper format.
    6              2.   Narrative Statements: The Court requires that the direct testimony
    7                   of a witness be presented by written narrative statement subject to
    8                   cross-examination at trial, to be adopted by the witness orally in
    9                   open court, unless such requirement is waived. L.R. 43-1.
    10   3.   TRIAL PROCEDURE
    11        A.   Civil trials are held Tuesday through Friday from 8:30 a.m. to 11:30 a.m.
    12              and from 1:00 p.m. to 4:00 p.m.

    13        B.   At the end of each day, counsel presenting his or her case shall advise
    14             opposing counsel of the witnesses expected to testify the following
    15             day with an estimate of the length of direct examination for each
    16             witness. Opposing counsel shall provide an estimate of the length of
    17             cross-examination for each witness. Cooperation of counsel will ensure

    18             a smooth flow of witnesses. It is the responsibility of all counsel to

    19             arrange the appearance of witnesses in order to avoid delay.

    20        C. Opening statements, examination of witnesses, and closing arguments
    21             should be made from the lectern only.
    22        D. Counsel shall not refer to their clients or any witness by their first names
    23             during trial.
    24        E.   When objecting, counsel shall state only that counsel is objecting and

    25             the legal ground of the objection, e.g., hearsay, irrelevant, etc. Counsel

    26             shall not argue an objection before the jury. SPEAK UP when making
    27             an objection.
    28        F.   Counsel shall not approach the Courtroom Deputy Clerk or the witness

                                               B−10
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 35 of 36 Page ID #:103
    1
                  box without the Court’s permission.
    2        G.   Counsel shall return to the lectern when his or her purpose has been
    3             accomplished.
    4        H.   Counsel shall not enter the well of the Court without the Court’s

    5             permission.
    6        I.   Counsel shall rise when addressing the Court. In jury cases, please rise
    7             when the jury enters or leaves the courtroom.
    8        J.   Counsel shall address all remarks to the Court.
    9        K.   Counsel shall not directly address the Courtroom Deputy Clerk, the
    10            reporter, or opposing counsel.
    11       L.   If counsel wish to speak with opposing counsel, counsel shall ask
    12            permission to talk to counsel OFF THE RECORD.

    13       M. All requests for the re-reading of questions or answers or to have an
    14            exhibit placed in front of a witness shall be addressed to the Court.
    15       N.   Counsel shall not make an offer of stipulation unless counsel has
    16            conferred with opposing counsel and reached an agreement.
    17       O.   While the court is in session, counsel shall not leave the counsel table

    18            to confer with investigators, secretaries, or witnesses unless permission

    19            is granted in advance.

    20       P.   When a party has more than one lawyer, only one may conduct the
    21            examination of any given witness and only that same lawyer may
    22            handle objections during the testimony of that witness.
    23       Q.   If a witness was on the stand at a recess or adjournment, counsel shall
    24            have the witness back on the stand and ready to proceed when Court

    25            resumes.

    26       R.   Counsel shall not run out of witnesses. If counsel is out of witnesses
    27            and there is more than a brief delay, the Court may deem that counsel
    28            has rested.

                                              B−11
Case 2:18-cv-02217-SJO-FFM Document 11 Filed 03/19/18 Page 36 of 36 Page ID #:104
    1
               S.   The Court attempts to cooperate with doctors and other professional
    2
                    witnesses and will, except in extraordinary circumstances, accommodate
    3               them by permitting them to be out of sequence. Counsel should anticipate
    4               any such possibility and discuss it with opposing counsel. If there is an
    5               objection, counsel shall confer with the Court in advance.
    6          T.   Counsel are advised to be on time as the Court starts promptly.
    7          U.   Counsel should not by facial expression, nodding, or other conduct
    8               exhibit any opinions, adverse or favorable, concerning any testimony
    9               which is being given by a witness. Counsel should similarly admonish
    10              their own clients and witnesses to avoid such conduct.
    11   4.    MISCELLANEOUS
    12         A. Installation of Equipment: If counsel need to arrange for the installation
    13              of their own additional equipment, such as a video monitor, overhead
    14              projector, etc., refer to the Court’s website (www.cacd.uscourts.gov) so
    15              that necessary arrangements can be made. Electronic Evidence Presenter
    16              reservations and tutorials may be made through the Courtroom
    17              Technology Help Desk at (213) 894-3061.
    18         B.   Voluminous Exhibits: Arrangements for bringing voluminous exhibits
    19              into the courtroom may be made through the Space and Facilities Help
    20              Desk at (213) 894-1400.
    21
              IT IS SO ORDERED.
    22
    23 DATED: March 19, 2018
    24                                      S. James Otero
                                            United States District Judge
    25
    26
    27
    28

                                                B−12                             Revised: 1−30−17
